                              rUNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT WINCHESTER

 UNITED STATES OF AMERICA                               )
                                                        )       Case No. 4:13-cr-11
                                                        )
 v.                                                     )
                                                        )       MATTICE / LEE
 REGIS D. BELL                                          )

                                              ORDER

        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

 (1) grant Defendant’s motion to withdraw his not guilty plea to Count One of the thirty-four count

 Indictment (2) accept Defendant’s plea of guilty to the lesser included offense of the charge in Count

 One, that is of conspiracy to distribute five hundred (500) grams or more of a mixture and substance

 containing a detectable amount of cocaine and twenty-eight (28) grams or more of a mixture and

 substance containing a detectable amount of cocaine base (“crack”), both Schedule II controlled

 substances, in violation of 21 U.S.C. §§ 846, 841(a)(1) & 841(b)(1)(B); (3) adjudicate Defendant

 guilty of the lesser included offense of the charge in Count One, that is of conspiracy to distribute

 five hundred (500) grams or more of a mixture and substance containing a detectable amount of

 cocaine and twenty-eight (28) grams or more of a mixture and substance containing a detectable

 amount of cocaine base (“crack”), both Schedule II controlled substances, in violation of 21 U.S.C.

 §§ 846, 841(a)(1) & 841(b)(1)(B); (4) defer a decision on whether to accept the plea agreement until

 sentencing; and (5) find Defendant shall remain in custody until sentencing in this matter [Doc. 313].

 Neither party filed a timely objection to the report and recommendation. After reviewing the record,

 the Court agrees with the magistrate judge’s report and recommendation. Accordingly, the Court

 ACCEPTS and ADOPTS the magistrate judge’s report and recommendation [Doc. 313] pursuant




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 to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

       (1)    Defendant’s motion to withdraw his not guilty plea to Count One of the Indictment

              is GRANTED;

       (2)    Defendant’s plea of guilty to the lesser included offense of the charge in Count One,

              that is of conspiracy to distribute five hundred (500) grams or more of a mixture and

              substance containing a detectable amount of cocaine and twenty-eight (28) grams or

              more of a mixture and substance containing a detectable amount of cocaine base

              (“crack”), both Schedule II controlled substances, in violation of 21 U.S.C. §§ 846,

              841(a)(1) & 841(b)(1)(B) is ACCEPTED;

       (3)    Defendant is hereby ADJUDGED guilty of the lesser included offense of the charge

              in Count One, that is of conspiracy to distribute five hundred (500) grams or more

              of a mixture and substance containing a detectable amount of cocaine and twenty-

              eight (28) grams or more of a mixture and substance containing a detectable amount

              of cocaine base (“crack”), both Schedule II controlled substances, in violation of 21

              U.S.C. §§ 846, 841(a)(1) & 841(b)(1)(B);

       (4)    A decision on whether to accept the plea agreement is DEFERRED until sentencing;

              and

       (5)    Defendant SHALL REMAIN in custody until sentencing in this matter which is

              scheduled to take place on Monday, March 17, 2014 at 9:00 a.m. [EASTERN]

              before the Honorable Harry S. Mattice, Jr.




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       SO ORDERED.

       ENTER:

                                                 /s/Harry S. Mattice, Jr.
                                                 HARRY S. MATTICE, JR.
                                            UNITED STATES DISTRICT JUDGE




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